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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION



 SCANNING TECHNOLOGIES
 INNOVATIONS, LLC,
                                                   Case No. 4:22-cv-00372
             Plaintiff,
                                                      PATENT CASE
       v.
                                                JURY TRIAL DEMANDED
 MOBOLUTIONS, LLC

             Defendant.


                  MOBOLUTIONS, LLC’S MOTION TO DISMISS
                  WITH MEMORANDUM OF LAW IN SUPPORT
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 I.     STAGE AND NATURE OF PROCEEDINGS
        On May 5, 2022, Plaintiff Scanning Technologies Innovations (“Scanning

 Technologies” or “Plaintiff”) filed this lawsuit accusing Defendant Mobolutions, LLC

 (“Mobolutions” or “Defendant”) of infringing U.S. Patent No. 10,600,101, entitled “Systems

 and Methods for Indicating the Existence of Accessible Information Pertaining to Articles of

 Commerce” (the “’101 Patent” or “Asserted Patent”). Scanning Technologies accuses

 Mobolutions’s Inventory Management application, associated hardware and software, and

 similar products of infringing at least Claim 1 of the ’101 Patent. (D.I. 1 at ¶¶ 13–26.).

 II.    SUMMARY OF THE ARGUMENT
        Mobolutions moves to dismiss Scanning Technologies’ Complaint pursuant to Rule

 12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim upon which relief

 can be granted. The claims of the Asserted Patent are invalid because they are directed to

 patent-ineligible subject matter under 35 U.S.C. § 101. The claims recite the mere notion of

 using generic computer components to achieve the abstract idea of communicating information

 about an article of commerce by use of a marking. Indeed, the claims at issue here “fall into a

 familiar class of claims “directed to” a patent-ineligible concept.” Electric Power Group, LLC

 v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016). Much like the Barcode and QR claims

 at issue in Secured Mail, the claims at issue here “merely provide that an identifier is affixed

 to [an article of commerce] that is used by the recipient to request and display electronic

 information.” Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 910 (Fed.

 Cir. 2017).

        Moreover, the recited components, “a mobile device” comprising a “signal processing

 device” and a “visual input device,” and “a server,” do not amount to any technical

 improvement in the functioning of the system or any components. Rather, these components

 are used only as tools to implement the abstract idea of communicating information about an

 article of commerce by use of a marking. See BSG Tech LLC v. Buyseasons, Inc., 899 F.3d

 1281, 1290–91 (Fed. Cir. 2018) (“If a claim’s only ‘inventive concept’ is the application of an

 abstract idea using conventional and well-understood techniques, the claim has not been


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 transformed into a patent-eligible application of an abstract idea.”). The claims of the ’101

 Patent thus lack an inventive concept.

        Resolving this issue does not require discovery or formal claim construction. The ’101

 Patent does no more than disclose an abstract idea using conventional and well-known

 components. Therefore, the claims of the patent are invalid under § 101 for failure to claim

 patent eligible subject matter. To avoid waste of judicial and party resources unnecessarily

 litigating an invalid patent, Mobolutions thus requests that the Court enter judgment in its favor

 on the causes of action in the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

 Procedure.

 III.   STATEMENT OF THE FACTS
        The ’101 Patent was filed on April 9, 2018, and issued on March 24, 2020. It is entitled

 “[s]ystems and methods for indicating the existence of accessible information pertaining to

 articles of commerce,” and is directed to “systems and methods for enabling a mobile device

 to indicate the existence of accessible information about an identified article of commerce.”

 ’101 Patent at 1:28-30.

        The applicant acknowledged that numerous technologies existed at the time of their

 application. Id. For example, the applicant acknowledged that “[p]ortable digital devices are

 now common.” Id. at 1:34. The applicant further acknowledged that “[v]arious

 communications technologies are frequently built into these devices” and “mobile devices may

 employ an incorporated imaging device to scan Universal Product Codes (UPCs) or other
 symbologies disposed on articles of commerce to receive more information on such articles.”

 Id. at 1:48, 1:59-62. The problem identified by the applicant was that “devices take time to

 connect to the internet (if internet service is even available) and then the user still may or may

 not have information on the article of commerce.” Id. at 1:64–1:66. The applicant contended

 that the delay and lack of information led to user frustration. Id. at 1:66-2:2. The applicant thus

 proposed a solution whereby a user may be notified of the existence of a link to information of

 an article of commerce. Id. at 2:17–19.

        But the applicant described his “solution” only with generic components and only at a

 high-level of generality. For example, exemplary Claim 1 of the ’101 Patent describes “a
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 system for indicating an existence of a link” consisting of: (1) a mobile device; (2) digital files;

 and (3) a server. Id. at Cl. 1. It requires that the server “store a look-up table that includes at

 least a plurality of bar codes associated with a plurality of articles of commerce.” Id. The

 claimed mobile device includes: (1) a signal processing device; and (2) a visual input device.

 Id. Neither the claims nor the specification discloses any special algorithms or programming.

        The specification states that Figure 3, below, depicts “a system in accordance with the

 present disclosure.” Id. at 8:62–63.




 Id., Fig. 3. In Fig. 3, mobile device 100 is associated with database 110. Id. at 8:63-65. Database

 110 may be stored in internal memory of mobile device 100 (e.g., storage module 110) or

 external memory communicably coupled to mobile device 100. Id. The mobile device 100

 communicates to a server 304 via communication network 302 via any form of communication

 and protocol means. Id. at 9:5–23. Server 304 stores look-up tables in storage medium 306. Id.

 at 9:23-24. The look-up tables stores information such as Universal Product Codes (UPCs) and


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 information links. Id. at 9:23–25. Also depicted is product 310 comprising barcode 312 which

 may be scanned by mobile device 100.

        The mobile device 100 downloads at least one look-up table from storage 306 to

 database 110 via communication medium 308. Mobile device 100 may then be used to scan

 barcode 312. Upon scanning barcode 312, mobile device 100 may look up product 310 in

 database 110 (which contains the look-up table downloaded from storage 306). The mobile

 device may then learn of the existence of a link to more information regarding product 310.

 Thus, the Asserted Patent claims communicating information (existence of a link to more

 information) about an article of commerce by a barcode, which can be scanned by a mobile

 device to communicate the information.

        Additionally, the plaintiff asserted the ’101 Patent against 23 defendants in the span of

 fourteen months. None of the cases advanced past the pleading stage.

 IV.    LEGAL STANDARD
        A.      Judgment Should be Entered in Favor of Mobolutions at the Pleading
                Stages

        A complaint can be dismissed under Rule 12(b)(6) if the factual allegations it contains,

 taken as true, do not state a claim that is plausible on its face. Amacker v. Renaissance Asset

 Mgmt., LLC, 657 F.3d 252, 254 (5th Cir. 2011). In other words, under Rule 12(b)(6), a party

 may move to dismiss a complaint that fails to state a claim upon which relief can be granted.

 “Under Rule 12(b)(6), federal courts are required to dismiss claims based upon invalid legal

 theories even though they might otherwise be well-pleaded.” Breen v. Tex. A&M Univ., 485

 F.3d 325, 336 (5th Cir. 2007). Similarly, the Federal Circuit held that “[a] motion made under

 Rule 12(b)(6) challenges the legal theory of the complaint, not the sufficiency of any evidence

 that might be adduced. The purpose of the rule is to allow the court to eliminate actions that

 are fatally flawed in their legal premises and destined to fail, and thus to spare litigants the

 burdens of unnecessary pretrial and trial activity.” Advanced Cardiovascular Sys. v. SciMed

 Life Sys., 988 F.2d 1157, 1160 (Fed. Cir. 1993). To avoid dismissal under Rule 12(b)(6),

 “plaintiffs must plead enough facts to state a claim to relief that is plausible on its face.” Bell

 Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007); see also
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  Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). As with any

  12(b)(6) motion to dismiss, courts accept well-pled factual allegations as true, but plaintiffs

  “must allege a plausible entitlement to relief in order to withstand the motion.” Twombly, 127

  S.Ct. at 1967–69.

         Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561

  U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage

  if it is apparent from the face of the patent that the asserted claims are not directed to eligible

  subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014)

  (Mayer, J., concurring). In those situations, claim construction is not required to conduct a §

  101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir.

  2012) (“[W]e perceive no flaw in the notion that claim construction is not an inviolable

  prerequisite to a validity determination under § 101.”).
         B.      The Law of 35 U.S.C. § 101.

         Section 101 of the Patent Act sets forth four categories of patentable subject matter:

  “any new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C.

  § 101. The law recognizes three exceptions to patent eligibility: “laws of nature, physical

  phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980)

  (emphasis added). Abstract ideas are ineligible for protection because a monopoly over these

  ideas would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words,

  “abstract intellectual concepts are not patentable, as they are the basic tools of scientific and

  technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

         Determining whether a patent claim is impermissibly directed to an abstract idea

  involves two steps. First, the court determines “whether the claims at issue are directed to a

  patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355

  (2014). Second, if the claim contains an abstract idea, the court evaluates whether there is “an

  ‘inventive concept’—i.e., an element or combination of elements that is sufficient to ensure

  that the patent in practice amounts to significantly more than a patent upon the ineligible

  concept itself.” Id. (internal quotations and citations omitted).


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         Transformation into a patent-eligible application requires “more than simply stating the

  abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative

  Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Furthermore, the use of a

  generic hardware or computer technology to perform well-understood, routine, and

  conventional activities commonly used in industry, does not make a claim patent eligible. ”

  Content Extraction & Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed. Cir.

  2014). Also, a claim is not meaningfully limited if it includes only token or insignificant pre-

  or post-solution activity—such as identifying a relevant audience, category of use, field of use,

  or technological environment. Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561 U.S. at 610;

  Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14 (1981); Parker v. Flook, 437 U.S. 584, 595

  n.18 (1978). Finally, “simply appending conventional steps, specified at a high level of

  generality, to laws of nature, natural phenomena, and abstract ideas cannot make those laws,

  phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props., Inc. v. Am.

  Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and general limitation

  does not impose meaningful limits on the claim’s scope.”). Although factual allegations are

  generally presumed true in the context of a Rule 12(b)(6) inquiry, any such allegations

  concerning the inventive nature of the claims cannot be “wholly divorced from the claims or

  the specification.” Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019).

  V.     ARGUMENT
         The claims of the Asserted Patent are invalid under 35 U.S.C. § 101 because they fail

  both prongs of the Alice test. Each of the claims is directed to the abstract idea of

  communicating information about an article of commerce by use of a marking. Abstract ideas

  are not eligible for patenting. None of the claims contains an “inventive concept sufficient to

  ensure that the patent in practice amounts to significantly more than a patent upon the
  ineligible concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because Scanning

  Technologies cannot state a claim upon which relief may be granted, Mobolutions respectfully

  requests that the Court dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).




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         A.      The ’101 Patent is Invalid Under 35 U.S.C. § 101

                 1.      Alice Step 1: The ’101 Patent is directed to the abstract idea of
                         communicating information about an article of commerce by use of
                         a marking.

         Claim 1 is directed to the abstract idea of communicating information about an article

  of commerce by use of a marking. Assessing whether Claim 1 is directed to an abstract idea,

  begins by analyzing the “focus” of the claim, i.e., its “character as a whole,” in order to

  determine whether the claim is directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC,

  898 F.3d 1161, 1167 (Fed. Cir. 2018). It is necessary to examine a patent’s “‘claimed advance’

  to determine whether the claims are directed to an abstract idea.” Finjan, Inc. v. Blue Coat

  System, Inc., 879 F.3d 1299, 1303 (Fed. Cir. 2018). A court should strip away “excess

  verbiage” in order to determine what the claim is directed to. Affinity Labs of Tex., LLC v.

  Directv, LLC, 838 F.3d 1253, 1256 (Fed. Cir. 2016). Here, the ’101 Patent is directed to

  communicating information about an article of commerce by use of a marking. ’101 Patent,

  Cl. 1. Put simply, the applicant claimed the use of conventional technology to provide

  information to a consumer as to whether more information about a product is available.

         The idea of determining whether more information related to an article of commerce

  exists is a fundamental practice that can be carried out manually. In essence, the patent claims

  the fundamental activity of asking a salesperson for information. Take, for example, a customer

  who goes to a store to purchase a camera. The customer may see a camera on display. However,

  the customer does not know whether the camera is in stock, or whether it has all the functions

  the customer desires. The customer may then ask a salesperson for additional information. The

  salesperson may look at the displayed item, and respond that he or she can look up the

  information for the customer. Alternatively, the sales person may be unaware of any further

  information, and may inform the customer accordingly. This captures the fundamental concept

  of the Asserted Claim.

         The Federal Circuit’s decision in Secured Mail is highly instructive. In Secured Mail,

  the Federal Circuit held claims directed to “communicating information about a [mail object]

  by use of a marking” to be abstract. Secured Mail, 873 F.3d 905, 909 (Fed. Cir. 2017). The

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  claims at issue in Secured Mail involved using QR codes on mail packaging to obtain

  information related to the mailing. Id. at 908. This is similar to the Asserted Claim, in which a

  barcode is used to retrieve information. ’101 Patent, Cl. 1, 7:50–64. In Secured Mail, the court

  held that the claims were “not limited to any particular technology of generating, printing, or

  scanning a barcode.” Secured Mail, 873 F.3d at 911. Thus, “each step of the process is directed

  to the abstract process of communicating information about a mail object using a personalized

  marking” Id. In a similar manner, the Asserted Claim is simply directed to using a scanning

  device to scan a marking and retrieve information related to a product.’101 Patent, Cl. 1. The

  claims are not limited in any meaningful way to any particular technology.

         The Secured Mail court further addressed whether Enfish, which was decided after the

  trial court rendered its opinion, altered the trial court’s patent ineligibility determination.

  Secured Mail, 873 F.3d at 910. The court held that it did not, explicitly stating that the trial

  court had correctly determined that the claims were directed to an abstract idea. Id.

  Specifically, the court differentiated Secured Mail from Enfish by noting that the claims at

  issue in Enfish were directed to an improvement in computer functionality, while the claims in

  Secured Mail were not, stating that the claims were “not directed to a new barcode format, an

  improved method of generating or scanning barcodes, or similar improvements in computer

  functionality.” Id.

         Recently, similar barcode related claims were found patent ineligible. In Coding Techs.,

  LLC v. Miss. Power Co., the court analyzed claims directed to “using a barcode on a mobile

  device to facilitate bill payment.” Coding Techs., LLC v. Miss. Power Co., 2020 U.S. Dist.

  LEXIS 249547, *8, 2020 WL 8410430. The court specifically found that the claims were “in

  all relevant respects similar to the barcode-related patents found to embrace an abstract idea as

  in Secured Mail.” Id. at *11. Hence, the court found that the claims, which “recite a method

  whereby a billing transaction is facilitated by virtue of user and billing information encoded in

  a barcode,” to be directed to an abstract idea, as “the claims do not set forth any particular

  method [by which] the barcode is to be generated or scanned, or any method of improving the

  speed, efficiency, or accuracy of barcode functionality.” Id. The court also found that the

  claims did not improve computer functionality. Id. The Asserted claim here are similar to the
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  ones in Coding Tech in that they are directed to communicating information about an article

  of commerce by use of a marking (or a barcode). Additionally, the Asserted Claim uses

  conventional components and is not directed to an improvement in computer functionality. See

  generally ’101 Patent, Cl. 1. Thus, the claims here are also directed to an abstract idea.

         The claim language confirms that representative Claim 1 is directed to the abstract idea

  of communicating information about an article of commerce by use of a marking. The claim

  recites generic hardware including “a mobile device,” “a visual input device,” “a signal

  processing device,” and “a server.” ’101 Patent, Cl. 1. Nothing in the claim language is

  concerned with improving the functioning of any of the hardware from a technical standpoint,
  which is why the claimed components are described “in vague terms without any meaningful

  limitations.” In re TLI, Commc’ns LLC Patent Litig., 823 F.3d 607, 612–13 (Fed. Cir. 2016)

  (“the focus of the patentee and of the claims was not on” improved hardware because the

  specification described the functionality of the hardware “in vague terms without any

  meaningful limitations”).

         The Federal Circuit’s decision in ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d

  759 (Fed. Cir. 2019) is also instructive. The ChargePoint claims were directed to a

  communication network to facilitate finding a recharging facility, controlling the facility, and

  paying for the electricity consumed. Id. at 766. But the claim described this process only in

  high-level functional terms, such as “a control device to turn electric supply on and off” and

  “a transceiver to communicate requests.” Id. The specification never even suggested that the

  charging station itself would operate differently or that it was “improved from a technical

  standpoint.” Id. at 768. The Federal Circuit therefore concluded that the risk of preemption was

  high because the broad claim language “would cover any mechanism for implementing

  network communication on a charging station.” Id. at 770. It further noted that, “[e]ven if

  ChargePoint’s specification had provided, for example, a technical explanation of how to

  enable communication over a network for device interaction (which, as discussed above, it did

  not), the claim language here would not require those details.” Id. at 769–70.

         Like the claims in ChargePoint, the applicant of the ’101 Patent failed to disclose the

  details of how to implement his system for determining the existence of more information
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  related to an article of commerce. Instead, the applicant described the system only at a high

  level of generality. For example, the mobile device of the Asserted Claim has a

  “communication interface” which allows it to communicate with a server and look up

  information.’101 Patent, Cl. 1. The Asserted Claim also discloses a “server” which stores a

  look-up table. Id., 9:59–64. But nothing in Claim 1 explains how the mobile device must be

  programmed to download the look-up table from the server. Moreover, nothing suggests that

  the mobile device or any other component is “improved from a technical standpoint.” See

  ChargePoint, 920 F.3d at 768. In other words, the broad claim language covers only the

  resulting system the applicants envisioned, but not how to achieve it. See Internet Patents

  Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim not

  directed to patent-eligible subject matter where “[t]he mechanism for maintaining the state is

  not described, although this is stated to be the essential innovation.”).

         By only claiming the desired result— communicating information about an article of

  commerce by use of a marking —without describing any specific roadmap for doing so,

  Claim 1 of the ’101 Patent falls short of claiming eligible subject matter under § 101. See

  Internet Patents, 790 F.3d at 1348. Indeed, the claim risks preempting all methods or systems

  for communicating information about an article of commerce by use of a marking. See, e.g.,

  Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014)

  (finding “preemptive effect . . . broad” where “the claims [were] largely functional in nature,

  they [did] not provide any significant description of the particular means by which the various

  recited functions are performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”).

  The law is clear that claims that “recite the concept, but not the way to implement it,” are

  ineligible for patenting. Epic IP LLC v. Backblaze, Inc., 351 F. Supp. 3d 733, 740 (D. Del.

  2018). Such is the situation with the Asserted Claim.

         Claim 1 thus fails Alice step one because it is directed to a patent-ineligible abstract

  idea. Alice, 134 S. Ct. at 2355. Claim 1 of the ’101 Patent is representative of all the claims

  because all the claims are “substantially similar and linked to the same abstract idea.” See

  Content Extraction and Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed.

  Cir. 2014) (holding that district court’s analysis of representative claims was appropriate where
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  claims were “substantially similar and linked to the same abstract idea”).1 Accordingly, all of

  the claims of the ’101 Patent are directed to an abstract idea.
                 2.      Alice Step 2: No inventive concept to transform the abstract idea
                         into patent-eligible subject matter is disclosed.

         Because Claim 1 of the ’101 Patent is directed to an abstract idea, the Court must next

  determine whether it contains an “inventive concept sufficient to transform the claimed

  abstract idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations

  omitted). To pass this test, Claim 1 “must include additional features” that “must be more than

  well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation

  omitted). Here, Claim 1 is broadly generic and does not contain meaningful limitations that

  would restrict it to a non-routine, specific application of the abstract idea.

         The applicant acknowledged that “[p]ortable digital devices are now common.” The

  applicant further acknowledged that “[v]arious communications technologies are frequently

  built into these devices” and “mobile devices may employ an incorporated imaging device to

  scan Universal Product Codes (UPCs) or other symbologies disposed on articles of commerce

  to receive more information on such articles.” Id. at 1:48, 1:59–62. The problem identified by

  the applicant was that “devices take time to connect to the Internet (if Internet service is even

  available) and then the user still may or may not have information on the article of commerce.”

  Id. at 1:64–66. The applicant contended that the delay and lack of information leads to user
  frustration. Id. at 1:66–2:2. The applicant thus proposed a solution whereby a user may be

  notified of the existence of a link to information of an article of commerce. Id. at 2:17–19.

         The solution, however, is claimed and implemented via the conventional application of

  generic means. There is no unconventional feature or activity disclosed in the Asserted Claim.

  This is especially true given that no special programming or improved component is claimed.

  All that is disclosed to perform the functionality of retrieving information as to the existence



  1
    See also Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP,
  2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing
  only a few “representative claims” where the other claims were “substantially similar” and
  “linked to the same abstract idea.”).
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  of further information of an article of commerce is a “mobile device” having a generic “visual

  input device” and “signal processing device,” a “server” that hosts a “look-up table,” and

  “digital files,” where the mobile devices uses the visual input device to scan a barcode and

  retrieve the relevant information from the look-up table. Id., Cl. 1.

         However, Claim 1 is altogether devoid of any technical explanation as to how to

  implement the purported invention. See In re TLI, 823 F.3d at 615 (claims failed Alice’s step

  2 where specification limited its discussion of “additional functionality” of conventional

  components “to abstract functional descriptions devoid of technical explanation as to how to

  implement the invention”). “At Alice step two, it is [thus] irrelevant whether [communicating

  information about an article of commerce by use of a marking] may have been non-routine or

  unconventional as a factual matter.” BSG Tech, 899 F.3d at 1290–91 (“As a matter of law,

  narrowing or reformulating an abstract idea does not add ‘significantly more’ to it.”); see also

  Berkheimer v. HP Inc., 881 F.3d 1360, 1370 (Fed. Cir. 2018) (claims lacked an inventive

  concept because they “amount to no more than performing the abstract idea of parsing and

  comparing data with conventional computer components”); Affinity Labs of Tex., 838 F.3d

  1262 (claim lacked an inventive concept because it “simply recites the use of generic features

  . . . as well as routine functions . . . to implement the underlying idea”). Adding generic

  functionality to an existing mobile device does not amount to an inventive concept as a matter

  of law. See Alice, at 2359-60.

         Claim 1 fares no better when its limitations are viewed in combination. The applicant

  did not describe how the claimed system “is a technical improvement over prior art.” See
  Bascom Global Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir.

  2016) (emphasis added). The applicant sought only to reduce user frustration with finding

  information related to an article of commerce. ’101 Patent, 1:66–2:6. He did so by storing a

  look-up table that can be accessed locally and thus reduce user frustration because, purportedly,

  the user would at least know whether further information exists. See id. This merely adds

  generic database functionality to the mobile device See ChargePoint, 920 F.3d 759, 774-75

  (rejecting plaintiff’s reliance on Bascom because the claims “do not improve the technology”

  but instead “merely add generic networking capabilities to [the claimed components] and say
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  ‘apply it’”). Considering the limitations in combination “add[s] nothing . . . that is not already

  present when the [limitations] are considered separately.” Alice, 134 S.Ct. at 2359 (internal

  brackets and quotation marks omitted). There is nothing “inventive” about using a mobile

  device and adding generic database functionality. Claim 1 is devoid of any technical

  explanation as to how to implement the invention and thus provides no inventive concept. See

  In re TLI, 823 F.3d at 615 (claims failed Alice’s step 2 where specification limited its discussion

  of “additional functionality” of conventional components “to abstract functional descriptions

  devoid of technical explanation as to how to implement the invention”).

         And the Asserted Patent’s use of terms such as “barcodes” and “information link

  indicators” to describe computer components that were known in the art is not enough to confer

  patentability. See Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1322, 1341

  (Fed. Cir. 2017) (“In particular, the MRTs and PRTs—although technical sounding—include
  generic data types for which the system can store the extracted data.”) (emphasis added).

  Indeed, the Supreme Court has long “warn[ed] . . . against interpreting       § 101 ‘in ways that

  make patent eligibility depend simply on the draftsman’s art.’” Alice, 134 S. Ct. at 2360

  (quoting Mayo, 132 S. Ct., at 1294). Barcodes were known in the art. ’101 Patent at 7:61–64;

  see also Secured Mail, 873 F.3d at 912(“[t]he use of barcodes was commonplace and

  conventional in 2001”) (emphasis added).). The information link indicator may simply be a
  “status or check signal,” neither of which would be unknown to those in the art. Id. at 4:4-19.

         Here again, the Coding Techs case is instructive. There, the court analyzed the similar

  barcode related patent claims under the second step of Alice and found that they did not disclose

  an inventive concept. See also Coding Techs., 2020 U.S. Dist. LEXIS 249547 at **14-19. The

  court specifically noted that ““[t]he use of barcodes was commonplace and conventional” as

  early as 2001, as was the concept of a barcode-encoded URL” Id. at *16 (citing Secured Mail,

  873 F.3d at 912). The court also found that the claims were silent “as to the means by which

  [the] computing tasks are to be performed” and merely disclosed a “generic computer”

  performing “generic computer tasks.” Id. at **17-19. Thus, the court concluded that the

  patent-in-suit did not “present an inventive concept sufficient to render the abstract idea of

  using barcodes to facilitate bill payment patentable.” Id. at *20. Similarly here, the claims of
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  the Asserted Patent are directed to conventional barcode technology and recite only generic

  computer tasks performed by generic computing devices/components (e.g. “mobile device,”

  “server,” “visual input device”) or generic computer software (e.g “digital files,” “look-up

  table”). ’101 Patent, Cl. 1. Thus, the claims of the ’101 patent fail to disclose an inventive

  concept.

         Unlike in Berkheimer, this case does not present any factual disputes requiring

  resolution before the Court can decide this § 101 issue. In Berkheimer, the Federal Circuit

  noted that the specification explicitly “describe[d] an inventive feature that store[d] parsed data

  in a purportedly unconventional manner.” Berkheimer, 881 F.3d at 1369. The Federal Circuit

  then examined whether the improvements described in the specification were included in the

  claims. For those claims where the inventive feature in the specification was “captured in the

  claims,” the Federal Circuit found a “factual dispute regarding whether the invention

  describe[d] well-understood, routine, and conventional activities.” Id. But where the claims

  did not recite the purportedly inventive features described in the specification, the Federal

  Circuit concluded that they were directed to patent ineligible subject matter under § 101. Id.

  Here, in contrast, there is no need for fact discovery at all because neither Claim 1 nor the

  specification of the Asserted Patent describes any unconventional components or the use of

  generic components in some unconventional manner, and no amount of fact discovery can

  change that.

         As discussed above, the purported advance of Scanning Technologies’s claims is the

  idea of communicating information about an article of commerce by use of a marking. ’101

  Patent at 2:17-19. But Claim 1 of the ’101 Patent does not describe any particular mechanism
  for achieving the result. See Secured Mail., 873 F.3d at 912 (claims fail Alice step two where

  “[t]he claim language does not provide any specific showing of what is inventive about the

  [limitation in question] or about the technology used to generate and process it”). The recited

  limitations—whether considered individually or as an ordered combination—are insufficient

  to add “significantly more” to the abstract idea.

         Because it is altogether devoid of any “inventive concept,” Claim 1 of the ’101 Patent

  is thus patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–60.
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                 3.      The remaining claims are also abstract and contain no “inventive
                         concept.”

         The remaining claims of the Asserted Patent recite the same abstract idea:

  communicating information about an article of commerce by use of a marking. Indeed, the

  remaining independent claims of the Asserted Patent are substantially similar to the Asserted

  Claim. Because these independent claims cannot be meaningfully distinguished from Claim 1

  of the ’101 Patent, they are ineligible for the same reasons.

         The dependent claims fare no better. The only differences relate to token or

  insignificant pre- or post-solution activity— for example, displaying the information retrieved

  (Claims 2, 8, 13, and 18), producing audio alerts (Claims 3, 9, 14, and 19), updating (Claims
  5, 10, and 20), and linking (Claims 4, 11, 15, and 21). See Ultramercial, 722 F.3d at 1346

  (“claim . . . will not be limited meaningfully if it contains only insignificant or token pre or

  post-solution activity—such as identifying a relevant audience, a category of use, field of use,

  or technological environment”). Indeed, all the dependent claims are written in the same or

  similar high-level of generality as in Claim 1 of the ’101 Patent. None of these limitations is

  sufficient to raise the claims beyond the abstract idea to which they are directed.

         Like Claim 1 of the ’101 Patent, the limitations in the remaining claims are directed to

  the same abstract idea of communicating information about an article of commerce by use of

  a marking and are altogether devoid of any “inventive concept.” They are thus patent ineligible

  under § 101. See Alice, 134 S. Ct. at 2359-60; see also Berkheimer, 881 F.3d at 1365 (“Courts

  may treat a claim as representative where there is no “meaningful argument for the distinctive

  significance of any claim limitations not found in the representative claim”).

  VI.    CONCLUSION
         For the foregoing reasons, Mobolutions respectfully requests that the Court dismiss

  Scanning Technologies’s Complaint for failure to state a claim upon which relief can be

  granted. Because leave to amend would be futile, Mobolutions respectfully requests dismissal

  with prejudice.




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      Dated: June 7, 2022                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document has

  been served on all counsel of record via the Court’s ECF system on June 7, 2022.



                                                                /s/ Neil J. McNabnay
                                                                Neil J. McNabnay




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